 

Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD Page 1 of 6

United States District Court
Southern District of Texas
FILED

 

“ Nathan Ochsner, Clerk

SEP 2 1 2021 | ; UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

UNITED STATES OF AMERICA § _
‘ : Mo 27-1785
§
CHISMERE MALLARD §
CRIMINAL INFORMATION

 

THE UNITED STATES ATTORNEY CHARGES:

At all times material to this Information:

The Medicare Program

1. The Medicare program (“Medicare”) is a federal health care program providing
benefits to persons who are over the age of sixty-five and some persons under the age of sixty-five
who are blind or disabled. Medicare is administered by the Centers for Medicare and Medicaid
Services, a federal agency under the United States Department of Health and Human Services.

2. Medicare is a “Federal health care program,” as defined by Title 42, United States
Code, Section 1320a-7b(f).

The Defendant and Co-Conspirators

3. Chismere Mallard was a resident of Hidalgo County, Texas.

4, CLS Devices, LLC, was a Texas limited liability company, of which Chismere
Mallard was the Managing Member.

5. Doctor-1 was a licensed physician in the State of Texas and a resident of Hidalgo

- County, Texas.

6. Clinic-1 was a medical clinic operated by Doctor-1, located and operating within

Hidalgo County, Texas, and elsewhere.
 

Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD_ Page 2 of 6

7. Clinic-Employee-1 was a resident of Hidalgo County, Texas and an employee of
Clinic-1.

8. Clinic-Employee-2 was a resident of Hidalgo County, Texas and an employee of
Clinic-1.

9. Individual-1 was a resident of Hidalgo County, Texas and the adult child of
Doctor-1.
. COUNT ONE .
CONSPIRACY TO SOLICIT OR RECEIVE ILLEGAL REMUNERATIONS
(18 U.S.C. § 371 and 42 U.S.C. § 1320a-7b(b)(2))

10. Beginning in or about 2014 and continuing through in or about 2019, the exact dates
being unknown, in the McAllen Division of the Southern District of Texas, and elsewhere,
defendant,

CHISMERE MALLARD
knowingly and willfully did combine, conspire, confederate and agree with others known and
unknown, to commit certain offenses against the United States, that is, to violate the Anti-Kickback
statute, Title 42, United States Code, Section 1320a-7b(b)(2), by knowingly and willfully offering
and paying remuneration, specifically, kickbacks and bribes, directly and indirectly, overtly and
covertly, in cash or in kind, in return for referring an individual for the furnishing and arranging
for the furnishing of any item and service for which payment may be made in whole or in part by
Medicare; and in return for ordering, or arranging for or recommending ordering any good, service,
or item for which payment may be made in whole or in part by Medicare.
OBJECT OF THE CONSPIRACY
11. | The object and purpose of the conspiracy and scheme was for the defendant

Chismere Mallard, his co-conspirators, and others known and unknown, to unlawfully enrich
 

Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD_ Page 3 of 6

themselves through an illegal kickback scheme.
MANNER AND MEANS
12. | The manner and means by which Chismere Mallard and his co-conspirators

sought to accomplish the object of the conspiracy included, but were not limited to, the following:

a. In or around 2014, Chismere Mallard entered into an arrangement with
Doctor-1 and Individual-1, the adult son of Doctor-1, whereby Doctor-1 would send orders for
toxicology tests to toxicology testing companies associated with Chismere Mallard in exchange
for kickbacks.

b. Beginning in or around 2014 and continuing through in or around 2019,
Chismere Mallard secured positions as account representative with various toxicology testing
companies. Chismere Mallard specifically sought out positions with toxicology testing
companies that would compensate based on claims paid to toxicology testing companies from
toxicology tests ordered by Doctor-1.

c. Doctor-1 and Individual-1 then directed toxicology tests for patients of
Clinic-1 to toxicology testing companies where Chismere Mallard was an account representative.

d. In order facilitate the directing of orders for toxicology tests to toxicology
testing companies that would generate payments to Chismere Mallard and, in turn Individual-1
and Doctor-1, Individual-1 directed Chismere Mallard to also make kickback payments to
Clinic-Employee-1 and Clinic-Employee-2.

e. In exchange for the kickback payments, and with the approval of
Individual-1 and Doctor-1, Clinc-Employee-1 and Clinic-Employee-2 directed toxicology tests
ordered by Doctor-1 to toxicology testing companies associated with Chismere Mallard.

f. In or around 2016, Individual-1 approached Chismere Mallard about an
Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD Page 4 of 6

additional kickback scheme involving prescriptions for compound medication to a pharmacy
(“Pharmacy-1”). Individual-1 informed Chismere Mallard that Doctor-1 would write
prescriptions for compound medication that would be sent by Clinic-Employee-1 and Clinic-
Employee-2 to Pharmacy-1. In turn, Pharmacy-1 would pay Chismere Mallard a commission,
out of which Chismere Mallard would be required to pay kickbacks to Individual-1 and Doctor-1.

g. Thereafter, Doctor-1 wrote prescriptions for compound medication,
including prescriptions for beneficiaries of Federal health care programs, such as Medicare.

h. Clinic-Employee-1 and Clinic-Employee-2 coordinated the sending of
prescriptions for compound medication from Doctor-1 to Pharmacy-1.

i. Pharmacy-1 filled the prescriptions from Doctor-1, and submitted claims to,
and received payment from, health care programs, including Federal health care programs such as
Medicare.

j. Pharmacy-1 paid Chismere Mallard a commission based on the amount
received by Pharmacy-1 from health care programs, including Federal health care programs such
as Medicare, for prescriptions written by Doctor-1.

k, Throughout the scheme, Chismere Mallard paid Individual-1 a percentage
of commissions he received in connection with orders for toxicology testing services from
Doctor-1.

1. Throughout the scheme, Chismere Mallard paid Doctor-1 numerous cash
kickbacks in the approximate monthly amount of $1,000 in connection with the toxicology tests
ordered by Doctor-1.

m. Throughout the scheme, Chismere Mallard paid Doctor-1 numerous cash

kickbacks in the approximate monthly amount of $1,000 in connection with the prescriptions for
Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD Page 5 of 6

compound medication ordered by Doctor-1.

n. Throughout the scheme, Chismere Mallard paid Clinic-Employee-1 and
Clinic-Employee-2 numerous cash kickbacks in the approximate monthly amount of $250 each in
connection with the toxicology tests and compound prescriptions ordered by Doctor-1.

oO. The toxicology tests ordered by Doctor-1 included toxicology tests for
beneficiaries of Federal health care programs such as Medicare.

p. The toxicology testing companies submitted claims to, and were paid by,
Federal health care programs such as Medicare in relation to the toxicology tests ordered by
Doctor-1.

q. The compound medication prescribed by Doctor-1 included prescriptions
for beneficiaries of Federal health care programs such as Medicare.

r. Pharmacy-1 submitted claims to, and were paid by, Federal health care
programs such as Medicare in relation to prescriptions ordered by Doctor-1.

Ss. During, and in relation to, the kickback scheme, Chismere Mallard was
paid approximately $766,310.49 in purported commissions for toxicology tests and prescriptions
for compound medication ordered by Doctor-1.

OVERT ACT

13. In furtherance of the conspiracy, and to accomplish its object and purpose, the
following overt act, among others, was committed in the Southern District of Texas and elsewhere:
a. On or about September 23, 2016, a check in the amount of $26,079.55 was paid

from Chismere Mallard’s entity, CLS Devices, to an entity belonging to

Individual-1.

 
 

Case 7:21-cr-01785 Document1 Filed on 09/21/21 in TXSD Page 6 of 6

NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 982(a)(7))

Pursuant to Title 18, United States Code, Section 982(a)(7), the United States gives notice
that upon Defendant’s conviction of Count 1 charged in this Superseding Information, the United
States intends to seek forfeiture of all property, real or personal, which constitutes or is derived

from proceeds traceable to such offense.

MONEY JUDGMENT AND SUBSTITUTE ASSETS
The United States gives notice that it will seek a money judgment against the Defendant.
In the event that one or more conditions listed in Title 21, United States Code, Section 853(p) exist,
the United States will seek to forfeit any other property of the Defendant up to the amount of the

money judgment.

JENNIFER B. LOWERY
UNITED STATES ATTORNEY

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ANDREW R. SWARTZ
ASSISTANT UNITED EATES ASI ATTORNEY

ASHA NATARAJAN
ASSISTANT UNITED States ATTORNEY

 
